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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
v.                                                 §            Criminal No. 3:18-CR-345-L
                                                   §
ANDREW KASNETZ                                     §

                                               ORDER

         The court hereby sets this case for pretrial conference on Monday, April 11, 2022, at 10:00

a.m. During this conference, the court will take up all outstanding pretrial matters. Jury selection

in this case will commence Tuesday, April 12, 2022, at 9:00 a.m. Testimony will commence

following jury selection, and the trial will proceed until concluded. The parties are to meet, confer,

and provide to the court in writing by 4:00 p.m., Friday, April 8, 2022, a list of all exhibits to which

no objection is being made.

         It is so ordered this 28th day of March, 2022.




                                                        _________________________________
                                                        Sam A. Lindsay
                                                        United States District Judge
